         Case 1:15-cv-00662-TSE Document 172 Filed 12/27/18 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


WIKIMEDIA FOUNDATION,

       Plaintiff,                                                   Hon. T.S. Ellis, III

       v.                                                            Civil Action No.
                                                                    15-cv-00662-TSE
NATIONAL SECURITY AGENCY /
CENTRAL SECURITY SERVICE, et al.,

       Defendants.


       RESPONSE TO DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

       In light of the lapse of appropriations to the Department of Justice, Defendants have

moved for a stay of these proceedings and requested that all deadlines in the above-captioned

case be extended commensurate with the duration of the lapse of appropriations. See ECF No.

171.

       Plaintiff Wikimedia does not oppose Defendants’ motion for a stay if the Court

determines that one is warranted; however, the requested stay should not result in an unfair

litigation advantage for Defendants.1 As Defendants acknowledge in their motion, half of the

Department of Justice attorneys assigned to the case are exempt from the furlough, see id., and

presumably these attorneys and Defendants’ expert(s) intend to continue working on the case

during the government shutdown. In short, the government likely plans to continue its work on

the pending summary judgment motion notwithstanding any stay. Given the complexity of this

case, and the fact that Defendants were originally allotted five weeks to prepare their reply brief,



1
 Wikimedia had no meaningful opportunity to confer with Defendants before their filing.
Defendants filed their motion less than two hours after emailing Plaintiff’s counsel seeking
Plaintiff’s position.
         Case 1:15-cv-00662-TSE Document 172 Filed 12/27/18 Page 2 of 2



the government’s request for additional time may disadvantage Wikimedia and its ability to

respond fairly and fully in the two weeks provided by the existing schedule.

       The duration of the government shutdown remains unknown at present. Accordingly, if

the Court decides to grant Defendants’ motion for a stay, Wikimedia will address the impact on

the schedule in this case at a later point, if necessary, when the effect of Defendants’ requested

extension can be better assessed.


Dated: December 27, 2018                               Respectfully submitted,

 /s/ Deborah A. Jeon                                    /s/ Ashley Gorski
Deborah A. Jeon (Bar No. 06905)                        Ashley Gorski (pro hac vice)
David R. Rocah (Bar No. 27315)                         (signed by Ashley Gorski with permission
AMERICAN CIVIL LIBERTIES UNION                            of Deborah A. Jeon)
   FOUNDATION OF MARYLAND                              Patrick Toomey (pro hac vice)
3600 Clipper Mill Rd., #350                            AMERICAN CIVIL LIBERTIES UNION
Baltimore, MD 21211                                      FOUNDATION
Phone: (410) 889-8555                                  125 Broad Street, 18th Floor
Fax: (410) 366-7838                                    New York, NY 10004
rocah@aclu-md.org                                      Phone: (212) 549-2500
                                                       Fax: (212) 549-2654
Benjamin H. Kleine (pro hac vice)                      ptoomey@aclu.org
COOLEY LLP
101 California Street, 5th Floor                       Alex Abdo (pro hac vice)
San Francisco, CA 94111                                Jameel Jaffer (pro hac vice)
Phone: (415) 693-2000                                  KNIGHT FIRST AMENDMENT
Fax: (415) 693-2222                                       INSTITUTE AT COLUMBIA
bkleine@cooley.com                                        UNIVERSITY
                                                       475 Riverside Drive, Suite 302
                                                       New York, NY 10115
                                                       Phone: (646) 745-8500
                                                       alex.abdo@knightcolumbia.org
Counsel for Plaintiff




                                                 2
